Case 5:21-cv-00255-EEF-MLH Document 19 Filed 06/01/22 Page 1 of 3 PageID #: 208




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

  ASCENTIUM CAPITAL LLC,                          *    CIVIL ACTION NO. 5:21-cv-00255
            Plaintiff,
                                                  *    JUDGE ELIZABETH E. FOOTE
  v.
                                                  *    MAGISTRATE MARK L. HORNSBY
  DIGITAL SIGN SOLUTIONS LLC and
  ARVIN WADDLES,
             Defendants.


  PLAINTIFF’S RULE 69 & 45(g) MOTION FOR CONTEMPT, SANCTIONS, AND TO
    COMPEL POST-JUDGMENT DISCOVERY PARTICIPATION FROM ARVIN
               WADDLES & DIGITAL SIGN SOLUTIONS, L.L.C.

        Plaintiff, Ascentium Capital LLC (“Ascentium”), respectfully files its Rule 69 and 45(G)

 Motion for Contempt, Sanctions, and to Compel Post-Judgment Discovery Participation From

 Arvin Waddles And Digital Sign Solutions, L.L.C. (the “Motion”) and, for the reasons set forth in

 the Memorandum in Support filed contemporaneously herewith, respectfully seek an order

 (1) holding Defendants, Arvin Waddles (“Waddles”) and Digital Signs Solutions, LLC (“DSS,”

 and collectively with Waddles, “Defendants”), liable for civil contempt pursuant to Federal Rule

 45(g); (2) compelling these Defendants to appear for their depositions and to produce certain

 documents (the “Agreed Documents”) within thirty (30) days or, if they fail to so comply, directing

 the United States Marshals to arrest and detain Waddles until he purges his contempt by making

 arrangements to appear for his (and DSS’s) deposition and to produce the Agreed Documents;

 (3) sanctioning these Defendants by ordering them to pay Ascentium’s reasonable costs and

 attorney fees incurred in the preparation of this Motion, and Ascentium’s reasonable attorney fees

 and costs incurred preparing for the two continued depositions of Defendants; and (4) granting all

 other relief to the Court deems just and appropriate under the circumstances.
Case 5:21-cv-00255-EEF-MLH Document 19 Filed 06/01/22 Page 2 of 3 PageID #: 209




        WHEREFORE, Ascentium respectfully requests that the Court grant this motion and

 enter an Order compelling Defendants as noted above.


                                                   RESPECTFULLY SUBMITTED

                                                   /s/ Lacey E. Rochester
                                                   Jan M Hayden (#06672)
                                                   Lacey E. Rochester (#34733)
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                                                   CALDWELL & BERKOWITZ, P.C.
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                                                   /s/ Kevin A. Stine *
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                                                   /s/ David G. Bayard
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                                                   Counsel for Plaintiff




                                              2
Case 5:21-cv-00255-EEF-MLH Document 19 Filed 06/01/22 Page 3 of 3 PageID #: 210




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this the 1st day of June 2022, I served the foregoing pleading

 on Defendants at the addresses listed below by U.S. Mail.

        Digital Sign Solutions, LLC
        Through its Registered Agent, Arvin Waddles
        4600 Victory Drive
        Apartment #73
        Marshall, Texas 75672

        Arvin Waddles
        Through its Registered Agent, Arvin Waddles
        4600 Victory Drive
        Apartment #73
        Marshall, Texas 75672


                                                             /s/Lacey E. Rochester




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